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                                                                    EXHIBIT L




   Colorado Court of Appeals                                DATE FILED: November 19, 2020
                                                            CASE NUMBER: 2020CA1775
   2 East 14th Avenue
   Denver, CO 80203

   Mesa County
   2018CV50

   Plaintiff-Appellant:

   Alyssa C Montalbano,                                     Court of Appeals Case
                                                            Number:
   v.                                                       2020CA1775

   Defendant-Appellee:

   James Corey Goode.

                                  ORDER OF THE COURT

  To: Appellant

           Upon consideration of appellant's response to the court's October 21, 2020

  Order to Show Cause, the court determines that the notice of appeal was untimely

  filed.

           IT IS THEREFORE ORDERED that the appeal is DISMISSED with

  prejudice.

                                          BY THE COURT:

                                          Terry, J.
                                          Grove, J.
                                          Gomez, J.
